Case 14-50333-gs Doc 104 Entered 06/30/14 17:10:20 Page 1 of 29

—_

ALAN R. SMITH, ESQ. #1449

HOLLY E. ESTES, ESQ. #11797

Law Offices of Alan R. Smith

505 Ridge Street ELECTRONICALLY FILED
Reno, Nevada 89501 June 30, 2014
Telephone (775) 786-4579

Facsimile (775) 786-3066

Email: mail@asmithlaw.com

Attorney for Debtors

ANTHONY THOMAS and WENDI

THOMAS and AT EMERALD, LLC

io oOo NAY WD n FF W WY

UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA

= =
—- ©

—oo0000—

—
bo

In Re: Case No. BK-N-14-50333-BTB
Case No. BK-N-14-50331-BTB

ANTHONY THOMAS and Chapter 11 Cases

WENDI THOMAS,

— he
R Ww

[Jointly Administered]
AT EMERALD, LLC, EX PARTE MOTION TO SEAL AND
REPLACE DOCKET ENTRIES 83, 87,
Debtors. AND 88
/

Debtor, AT EMERALD, LLC, a Nevada limited liability company (hereinafter “AT

Se ee
a NDA WN

 

—
Oo oc

Emerald” or “Debtor”), by and through its undersigned counsel, Holly E. Estes, Esq., of the

No
Oo

Law Offices of Alan R. Smith, hereby files its Ex Parte Motion To Seal And Replace Docket

N
=

Entries 83, 87, and 88 (the “Motion’”). This Motion is made and based upon Federal Rule

N
NO

of Bankruptcy Procedure 9018, Local Rule 9018, the points and authorities set forth below,

bo
Ww

the Declaration Of Anthony Thomas In Support Of Ex Parte Motion To Seal And Replace

bo
B

Docket Entries 83, 87, and 88, the pleadings and papers on file herein, and such other matters

nN
Nn

as may be presented at the hearing hereon.

POINTS AND AUTHORITIES

Ny Ww
aD

A. Background.
On June 23, 2014, the Debtor filed its Motion To Sell Assets Free And Clear Of Liens

dN
oO

Law Offices of
ALAN R. SMITH
505 Ridge Street
Reno, Nevada 89501
(775) 786-4579 H:\AT Emerald\Mot Sell\Mot to File Under Seal\Mot File Under Seal 062514 hee.wpd

 

 
co HA ST DB On FF W NK

NO No NO WN NY HN NN KN KN HB HB He eRe ee ee eee
yo TD WB A FP WD NO -§ DBD Oo HH HN DBD A FP WD NH KF OS

Law Offices of
ALAN R. SMITH
505 Ridge Street
Reno, Nevada 89501

(775) 786-4579

 

Case 14-50333-gs Doc 104 Entered 06/30/14 17:10:20 Page 2 of 29

And Motion to File Purchase and Sale Agreement Under Seal [DE 83](the “Sale Motion”),
and the Declaration Of Anthony Thomas In Support Of Motion To Sell Assets Free And
Clear Of Liens And Motion To File Purchase And Sale Agreement Under Seal [DE 88]
(“Thomas Declaration”). Also on June 23, 2014, the Debtor filed its Ex Parte Motion To File
Purchase And Sale Agreement Under Seal [DE 87] (“Motion to Seal’’) (the Sale Motion, the
Thomas Declaration and the Motion to Seal will hereinafter collectively be referred to as the
“Documents”). The Documents provide the name and identity of the purchaser and its
authorized representative.

The purchaser has requested that its name and the name of its authorized
representative not be disclosed in any public document, but be filed with the Court under
seal. As set forth in 11 U.S.C. § 107(c), information need not be disclosed if it would create
undue risk of unlawful injury to the individual. As stated in Collier on Bankruptcy, {] 107.04
(16" ed.),

Section 107(c) gives the court broad discretion to protect an
individual with respect to any information, including identifying
information, in a paper filed or to be filed with the court to the
extent that the court finds that disclosure of the information

would create an undue risk of identify theft or unlawful injury
to the individual or the individual’s property.

Unlike section 107(b), section 107(c) requires a showing of

cause. It does not require a request to the court; although most

orders under the section will be initiated in that manner, the

court can act sua sponte. There is also no requirement that a

request be made by a party in interest. However, the protection

of the subsection extends only to individuals, and only to

prevent injury to the person or property of individuals.
In this case, disclosure of the name of the purchaser and the name of its authorized
representative could poses a risk to the purchaser and its authorized representative and is not
necessary.

The Debtor requests that the Documents be sealed and replaced with those attached

hereto wherein the identity of the purchaser and its authorized representative have been

removed. Specifically, the Debtor requests that the Sale Motion [DE 83] be replaced with

H:\AT Emerald\Mot Sell\Mot to File Under Seal\Mot File Under Seal 06251468 .wod

 
Oo Oo NI DR A FR WD NY

wo wpoO NH HN NY HN NY NV NY YF RRP Fe RFF FE Re
Oo SD DO WA FB WO NY KF DO ONT DBA FP WD NY KH O&O

Law Offices of
ALAN R. SMITH
505 Ridge Street
Reno, Nevada 89501

(775) 786-4579

 

Case 14-50333-gs Doc 104 Entered 06/30/14 17:10:20 Page 3 of 29

attached Exhibit “A”; that the Thomas Declaration [DE 88] be replaced with attached Exhibit
“B”; and that the Motion to Seal [DE 87] be replaced with attached Exhibit “C”. The only
change to the attached documents is the removal of the name and identity of the purchaser
and the purchaser’s representative.
CONCLUSION
Accordingly, the Debtor requests that the purchaser and its authorized representative
remain confidential. It is in the best interests of the purchaser and the purchaser’s authorized
representative, that their identity remain confidential as disclosure is not necessary.
Therefore, the Debtor requests that the filed Documents be sealed and replaced with the
attached exhibits which remove the name and identity of the purchaser and the purchaser’s
representative.
DATED this 30th day of June, 2014.
LAW OFFICES OF ALAN R. SMITH
By: /s/ Holly E. Estes

HOLLY E. ESTES, ESQ.
Attorney for Debtors

 

H:\AT Emerald\Mot Sell\Mot to File Under Seal\Mot File Under Seal 062574.Ae8.wod

 
Case 14-50333-gs Doc 104 Entered 06/30/14 17:10:20 Page 4 of 29

Exhibit A
Co Oo ND A FP WY YN

NM NB NH KO NO eR Be Re Be Be Re

Law Offices of
ALAN R. SMITH
505 Ridge Street
Reno, Nevada 89501

(775) 786-4579

 

Case 14-50333-gs Doc 104 Entered 06/30/14 17:10:20 Page 5 of 29

ALAN R. SMITH, ESQ. #1449
HOLLY E. ESTES, ESQ. #11797
Law Offices of Alan R. Smith

505 Ridge Street ELECTRONICALLY FILED
Reno, Nevada 89501 June 23, 2014
Telephone (775) 786-4579

Facsimile (775) 786-3066

Email: mail@asmithlaw.com
Attorney for Debtors

ANTHONY THOMAS and WENDI
THOMAS and AT EMERALD, LLC

UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA
—oo00o00—
In Re: Case No. BK-N-14-50333-BTB
Case No. BK-N-14-50331-BTB
ANTHONY THOMAS and Chapter 11 Cases
WENDI THOMAS,
[Jointly Administered]
AT EMERALD, LLC, MOTION TO SELL ASSETS FREE
AND CLEAR OF LIENS AND
MOTION TO FILE PURCHASE AND
SALE AGREEMENT UNDER SEAL

Debtors. Hearing Date: OST Pending
/ Hearing Time: OST Pending

Debtor, AT EMERALD, LLC, a Nevada limited liability company (hereinafter “AT
Emerald” or “Debtor’’), by and through its undersigned counsel, Alan R. Smith, Esq., of the
Law Offices of Alan R. Smith, hereby files its Motion To Sell Assets Free And Clear Of
Liens And Motion to File Purchase and Sale Agreement Under Seal (“Motion”) and moves
this Court for an order authorizing the sale of a certain emerald owned by the Debtor. This
Motion is made and based upon 11 U.S.C. § 363(b) and 363(f)(3), the points and authorities
set forth below, the Declaration Of Anthony Thomas In Support Motion To Sell Assets Free
And Clear Of Liens And Motion to File Purchase and Sale Agreement Under Seal, the
pleadings and papers on file herein, and such other matters as may be presented at the hearing

hereon.

H:\AT Emerald\Mot Sell\Mot Sell (Replace) 062714 hee.wpd

 
Oo eo NHN DH On FP W NYO

NO wo NO WN KN YN NO KR RFR Fe Se HB HF FSF ESE Se
BPO RXSkR BK FSF Ce DW aAauauakRaoaness

Law Offices of
ALAN R. SMITH
505 Ridge Street
Reno, Nevada 89501

(775) 786-4579

 

Case 14-50333-gs Doc 104 Entered 06/30/14 17:10:20 Page 6 of 29

POINTS AND AUTHORITIES

A. Overview Of Motion

This Motion seeks authority for the Debtor to sell its only asset, a 21,000 carat
emerald. As set forth below, the sale is for cash, and is sufficient to pay all creditors in the
case, as well as all creditors in the companion case of ANTHONY THOMAS and WENDI
THOMAS, Case No. BK-N-14-50333-BTB (the “Thomas Bankruptcy Case”) in full. The
Debtor will request that this Motion be heard on shortened time, with escrow to close three
days following entry of an order approving the sale. Debtor believes that this sale will
resolve all of the obligations in this case, as well as in the Thomas Bankruptcy Case. The
following describes more specifically the terms of the sale.

B. The Proposed Sale

1, | Assets to be sold.

The Debtor is the owner of a certain 21,000 carat emerald matrix (the “Emerald”).
The Emerald is currently located at Sarasota Vault, 640 South Washington Blvd., Ste. 125,
Sarasota, Florida, 34236.

2. Purchase price and terms.

Attached hereto as Exhibit “A” is a fully executed copy of the Purchase And Sale
Agreement (hereinafter the “Agreement”). Under the Agreement, a purchaser agrees to
purchase the Emerald for cash, payable at close of escrow. Pursuant to the Agreement, both
parties have requested that the purchase price not be disclosed in any public document, but
be filed with the Court under seal. For the reasons set forth in section 9, the actual purchase
price has been redacted from the Agreement. The purchase price is sufficient to pay all
secured claims, as well as all unsecured claims in full. The purchase price is to be paid in
cash, within three days following entry ofan order approving the sale or three days following
the inspection and acceptance of the Emerald by the purchaser. The Agreement provides that
the purchaser shall have eleven days following execution of the Agreement to approve the
condition of the Emerald, and that the Debtor shall have ten days following execution of the

Agreement to confirm that the purchaser has sufficient cash to consummate the transaction.

H:\AT Emeraid\Mot Sell\Mot Sell (Replace) 062714 hee.wpd ° 2 .

 
C0 oN DH NW BR WwW NH &

N Bw NO NNO Re Be Rm er

Law Offices of
ALAN R, SMITH
505 Ridge Street
Reno, Nevada 89501
(775) 786-4579

 

Case 14-50333-gs Doc 104 Entered 06/30/14 17:10:20 Page 7 of 29

By the date of the hearing on this Motion, both conditions will likely have been satisfied, as
the Agreement was executed on June 19, 2014 and the conditions are required to be met not
later that June 30.

3. Overbidding not allowed.

No overbidding will be allowed at the hearing. For the reasons set forth herein, and
at the request of the parties to the transaction, the actual purchase price is not disclosed in any
public document. Furthermore, the purchase price is in excess of all of the secured
obligations of AT Emerald, as well as the combined unsecured obligations of AT Emerald,
and the Thomas Bankruptcy Case. All creditors in the Thomas Bankruptcy Case will also
be provided notice of this sale.

4, Description of lienholders.

There are certain claims that have asserted a security interest against the Emerald,

which are identified as follows:

 

 

NAME OF CREDITOR | NATURE OF APPROXIMATE
SECURITY INTEREST | AMOUNT OF
SECURED CLAIM
John Beach Security Agreement and $540,000.00
UCC-1 Financing
Statement

 

Kenmark Ventures, LLC Alleged security interest $4,500,000.00, together
evidenced by UCC-1 filing | with interest and attorneys’
with the State of Nevada fees (disputed by Debtor)

Sarasota Vault Depository, | Rental Agreement $1,200.00
Inc.

 

 

 

 

 

 

The Debtor proposes that all money obtained from the sale of the Emerald, except the
debt to Sarasota Vault of approximately $1,200.00, remain on deposit in a segregated trust
account at Wells Fargo Bank. Following close of escrow, the Debtor will resolve through
agreement or litigation the amount owed to its various creditors, as well as the creditors in
the Thomas Bankruptcy Case, and pay all creditors in full. The Debtor may also seek release
of a portion of the sale proceeds by separate motion, in order to employ and pay state court

counsel and to provide living expenses to Anthony and Wendi Thomas, leaving sufficient

H:\AT Emerald\Mot Sell\Mot Sell (Replace) 062714 hee.wpd - 3 -

 
Oo Oo NY DB Wn FP WH PO

NO NO NO NO NO KH Fe FEF FPF EF PP ES El lhe

Law Offices of
ALAN R. SMITH
505 Ridge Street
Reno, Nevada 89501
(775) 786-4579

 

Case 14-50333-gs Doc 104 Entered 06/30/14 17:10:20 Page 8 of 29

sums in the trust account in order to resolve all claims in both bankruptcy cases.

5. Amount of unsecured debts.

The only unsecured debt listed in the AT Emerald case is Sarasota Vault in the amount
of approximately $1,200.00. This debt will be paid immediately from the sale proceeds in
order to allow the Emerald to be released. The unsecured debts listed in the Thomas
Bankruptcy Case total $1,262,568.94. Accordingly, the total of all secured and unsecured
debts in both cases is $6,303,768.94. The sales price exceeds the amount necessary to pay
all creditors in both cases.

6. Marketing efforts and valuation.

Anthony Thomas has been marketing the Emerald for more than 8 years through
various connections. Due to the unusual nature of the Emerald, normal marketing procedures
are not applicable. In any event, since the sale proceeds are more than sufficient to pay all
creditors in full in this case, a determination of the exact value of the Emerald, or whether
the Debtor has obtained the best purchase price possible, is not necessary.

7. No agreement with management or key employees.

The purchaser has not entered into any separate agreement with Anthony Thomas,
Wendi Thomas, or any entities or affiliates of either of them.

8. Sale of Emerald to be free and clear of liens under 11 U.S.C. § 363

Once the Court determines that a valid business justification exists for the sale, thus
permitting the sale of estate assets prior to confirmation of a plan of reorganization, the Court
must determine whether such a sale can be made free and clear of existing liens. Section
363(f) of the Bankruptcy Code governs the sale of property of the estate free and clear of
liens and provides, in pertinent part, the following: |

(f) The trustee may sell property under subsection (b) and (c) of this
section free and clear of any interest in such property of an entity other than

the estate only if —

(1) applicable non-bankruptcy law permits sale of such
property free and clear of such interest;

(2) — such entity consents;

H:\AT Emerald\MVot Sell\Mot Sell (Replace) 062714 hee.wpd - 4 -

 
NY NO NO KK = BP Se FE PF PE El lL
PNRPRRBRRRSEGeAAARBSNH A S

Law Offices of
ALAN R. SMITH
505 Ridge Street

Reno, Nevada 89501
(775) 786-4579

 

Case 14-50333-gs Doc 104 Entered 06/30/14 17:10:20 Page 9 of 29

(3) such interest is a lien and the price at which such property
is to be sold is greater than the aggregate value of all liens on such
property;

(4) such interest is in bona fide dispute; and

(5) such entity could be compelled, in a legal or equitable
proceeding, to accept a money satisfaction of such interest.

11 U.S.C. § 363(f).

Section 363(f) is written in the disjunctive; thus, satisfaction of any one of the five
conditions is sufficient to sell the property free and clear of liens. See, e.g., Citicorp
Mortgage, Inc. v. Brooks (In re Ex-Cel Concrete Co.), 178 B.R. 198, 203, n.7 (9" Cir. BAP
1995); Citicorp Homeowners Sves., Inc. v. Elliot (In re Elliot), 94 B.R. 343, 355 (Bankr.
E.D. Pa. 1988).

Pursuant to section 363(f)(2), a sale may be consummated if any asserted interest in
the property consents. The Debtor believes that the secured creditors in this case will consent
to the sale. In any event, pursuant to section 363(f)(3), the price at which the Emerald is to
be sold it greater than the aggregate value of all asserted liens against the Emerald, and
accordingly the sale may be approved on that basis as well.

9. Purchase price not disclosed.

As set forth above, the purchase price is in excess of the amount required to pay all
claims in both the above-captioned case and the Thomas Bankruptcy Case. Anthony and
Wendi Thomas request that the purchase price remain undisclosed. As set forth in 11 U.S.C.
§ 107(c), information need not be disclosed if it would create undue risk of unlawful injury
to the individual. As stated in Collier on Bankruptcy, § 107.04 (16 ed.),

Section 107(c) gives the court broad discretion to protect an
individual with respect to any information, including identifying
information, in a paper filed or to be filed with the court to the
extent that the court finds that disclosure of the information

would create an undue risk of identify theft or unlawful injury
to the individual or the individual’s property.

Unlike section 107(b), section 107(c) requires a showing of
cause. It does not require a request to the court; although most

H:A\AT Emerald\Mot Sell\Mot Sell (Replace) 062714 hee.wpd - 5 7

 
Oo Oo IN NDNA FP WY YP

NO NO Se FE Fe Fe Heel Ell Sl lr
PNRRRSEBHXSSEwSX DADE BONES

Law Offices of
ALAN R. SMITH
505 Ridge Street
Reno, Nevada 89501
(775) 786-4579

 

Case 14-50333-gs Doc 104 Entered 06/30/14 17:10:20 Page 10 of 29

orders under the section will be initiated in that manner, the

court can act sua sponte. There is also no requirement that a

request be made by a party in interest. However, the protection

of the subsection extends only to individuals, and only to

prevent injury to the person or property of individuals.
In this case, disclosure of the actual purchase price poses a risk to the individual Debtors
Anthony and Wendi Thomas and is not necessary. Debtor will file under seal an non-
redacted copy of the Purchase And Sale Agreement with the Court.

10. Conclusion.

Debtor submits that the proposed sale should be approved. The sale is for a value far
in excess of all secured and unsecured claims of both this estate and the Thomas Bankruptcy
Case. The sale is to be consummated in a short period of time, and the proceeds of this sale
are protected in an interest bearing trust account. It is in the best interests of the estate for
this sale to be consummated.

DATED this 23 day of June, 2014.

LAW OFFICES OF ALAN R. SMITH
By: /s/ Holly E. Estes

HOLLY E. ESTES, ESQ.
Attorney for Debtors

H:\AT Emerald\Mot Sell\Mot Sell (Replace) 062714 hee.wpd ™ 6 -

 
Case 14-50333-gs Doc 104 Entered 06/30/14 17:10:20 Page 11 of 29

Exhibit A

REDACTED COPY
OF
PURCHASE AND SALE AGREEMENT
 

Case 14-50333-gs Doc 104 Entered 06/30/14 17:10:20 Page 12 of 29

SAMAR dee

' PURCHASE AND SALE AGREEMENT

This Purchase And Sale Agreement (hereinafter the “Agreement” is made this ioe day of
June, 2014, by and between AT EMERAED, LLC, a Nevada limited liability company
(heréinaffer “AT Emerald”), and QQ aa,
aia». This Agreement is based upon the following recitals;

RECITALS
WHEREAS, AT Emerald is the owner of 4 certain emerald described herein below; and
WHEREAS, AT Emerald desires to sell and SD desites to purclse the emerald as

hereinafter desenbed; gad

WHEREAS, AT Emerald is curréntly a debtot-in-possession in the bankruptcy case
entitled In-te AT Emerald, LLC, Case Number BK-N-14-50331-BTB (the “Bankruptcy Case").

NOW, THEREFORE, the parties heréto agtés as follows:

 

Subject to the conditions hereinafter set forth, AT Emerald agrees to sell and SBD exr0es
to purchasé a certaii 21,000 carat emerald matrix (the “Einerald”) which is currently: located at
Sarasota Vault, 640 South Washington Blvd., Suite 125, Sarasota, Florida, 34236 (heremafier the:
“Storage Vault”). |

The purchase price for the Emerald shall be the sum of GOES

GUNTER, payable int cash or cash equivalent in the manner set forth below.
Case 14-50333-gs Doc 104 Entered 06/30/14 17:10:20 Page 13 of 29

 

A) Within ten (10) days following the execution of this Agreement, gg shall inspest
the Emerald at the Storage Vault. AT Emerald shall cooperate in arranging such inspection ata |
mutually agreeable time. GD shai be entitled to bring such gemologist or other experts as
GB stall deom necessary w condictits own inspection of the Emerald, MID acknowledges
that ithas aotrelied upon any representations of AT Emerald concemitig the condition of the
Emerald, and relies solely upon its own-inspection of the Emerald. On ot before 5-60 pin. PST
oa the sleventh day following the execution of this Agreement, Qi shall provide notice by email
whether itis satisfied with the condition of the Emerald. If {iis satisfied with the eonidition of
the Enterald, escrow shall close in the manner set forth herein below. Lf lp indicates it is
dissatisfied with the condition of the Emerald, this Agreement shall be null and-void, and all
obligations of the. parties hereunder shall be deemed canceled. |

B) Within ten (10).days following the execution. of this Agreement, SD
provide to AT Emerald evidence of its financial ability to consummate this transaction in a manner
satisfactory to.AT Emerald. Inthe event AT Emerald is not satisfied in its sole discretion that
BRED bias the financial ability to consammate this transaction, AT Emerald shall provide email
notice to - that the transaction is canceled, and in suth event this Agreement shall be-null and
void and all obligations of the parties hereunder shall becancelied.

C) This Agreement shall be ‘subject to and conditional ypon eatry of an order

_ approving the sale (the “Approval Order’) by the Bankruptoy Court m the Bankruptey Case. AT
Emerald shall be responsible for bringing the motion before the Court, and shall seek'a hearing on
shortened notice, with a iearing date to be within seven (7)-days of the date of filing the motion, or

a8 Close thereto as possible.

WwW .

 
Escrow shall close.for this transaction (“Close of Escrow”) within three (3) days following
the entry of the Approval Order{or 3 déys following the inspection and acceptance of the Emerald
by i. Close-of Escrow shall oceur at the Law Offices of Alan R. Smith, Esq., or such other
place as the parties shall mutually agree.

Prior to Close-of Escrow, GR shat cause tobe. deposited the sum of Ihe
SAG sc Per ctse Funds”) QE toa sopregated
trust account entitled “At Emerald Trust Account” located at'Wells Fargo Baik in Rend, Nevada
si QED nto bak account designated by AT Emerald LLC. Wiring or other transfer
instructions shall be provided to within three (3) days following the execution af this

Agreement.

 

Prior to Close of Escrow, AT Emerald shall deliver to the law offices of Alan R. Smith,
Esq., an executed Bill of Sale, transferring the Emerald from AT Emerald oi or such other’
entity.as 9 so designates in writing prior to Close of Escrow, as well as written instructions to
the Storage Vanit (the “Storage Vault Instructions”) representing that the Emerald has. been sold fo

| | of its nominee, and authorizing (MB or its nominee, coinplete access to the Emerald.

 

The Law Offices of AlanR. Smith (hereinafter “Escrow Agent”) is instructed as follows:
On the closing date; Escrow.Agent shall:
A) Deliver the Bill of Sale to ornominee, ine manner'specisied by GB
B) Deliver the Storage Vault Instructions to iin a manner identified oi
-j-

 
C) Maintain the CD 0 deposit at Wells

Fargo Bank pending further order of the Bankruptcy Court.

 

Wa skuowiedses that ithas relied upon its own inspection of the Emerald in connection
with this Agréement, and has not.rélied upon any representation whatsoever by AT Emerald, or
any agent or affiliate of AT Emerald. WEReckrowiedses that this sale is. “as 13,” arid that AT
Emeraid has made no warranty or other represetitation whatsoever regarding the condition or

quality ity of the Emerald.

 

| A) AT Emerald represents that it is the true arid lawful owner of the Emerald, and that,
subject to the Approval Order, has the ability to transfer the Enrerald free and clear of all liens and
encumbrances.
B) That AT Eimerald"s managing member is Anthony G. Thomas (hereinafter
“Thomas”), who has the authority to act of behalf of AT Emerald, and to execute all such
documénts as shall be required in. connection with this transaction.

10.

 

A) WB cpresents that it is‘a valid and currently chartered corporation, and that
TEE: authority to act on behalf off, inctuding authority: to exeonte ail
documents as shall be required in connection with this transaction.
11. Purchase Price Confidential
The parties hereto agree: that the ammount of the purchase price shall remain confidential, |
and shall not be disclosed in any public filing. The parties agree that the purchase price may be
) disclosed to the Bankruptcy Judge only in a filing under seal.
~4-

4,

 
This Agreensent shall be construed and governed in accordance with the laws of the State

of Nevada, as well as the laws of the United States of Amierica as the same shall be applicable. 1

| 13. Jurisdiction |
The parties hereto specifically consent to the jurisdiction of the United States Bankruptcy. :

Court-for the State of Nevada, Reno, Nevada, in connection with this Agreement, specifically

including the enforcement of this.Agreemént and any claims associated therewith, - |
14. Attotrieys” Fees "

If any litigation arises out of dr if connection with en

 

atéement of this Agreement, the
prevailing party: shall be entitled to recovery .its litigation costs, mchuding expeit witnéss fees and
attorneys’ fees.

DATED:- this 19" day of June, 2014

AT EMERALD, LLC

wy Foon Vepton) —_

ANTHONY G. THOMAS —_
Aayaping Member.

DATED: this 19th day of June, 2014

 
Case 14-50333-gs Doc 104 Entered 06/30/14 17:10:20 Page 17 of 29

Exhibit B
Case 14-50333-gs Doc 104 Entered 06/30/14 17:10:20 Page 18 of 29

1 | ALAN R. SMITH, ESQ. #1449

HOLLY E. ESTES, ESQ. #11797

2 | Law Offices of Alan R. Smith

505 Ridge Street ELECTRONICALLY FILED
3 || Reno, Nevada 89501 June 23, 2014
Telephone (775) 786-4579

 

 

 

4 || Facsimile (775) 786-3066
Email: mail@asmithlaw.com
5 || Attorney for Debtors
ANTHONY THOMAS and WENDI
6 | THOMAS and AT EMERALD, LLC
7
8
9 UNITED STATES BANKRUPTCY COURT
10 DISTRICT OF NEVADA
il —oo000—
12 | In Re: Case No. BK-N-14-50333-BTB
Case No. BK-N-14-50331-BTB
13 | ANTHONY THOMAS and
WENDI THOMAS, Chapter 11 Cases
14
[Jointly Administered]
15 || AT EMERALD, LLC,
DECLARATION OF ANTHONY
16 THOMAS IN SUPPORT OF MOTION
TO SELL ASSETS FREE AND CLEAR
17 OF LIENS AND MOTION TO FILE
Debtors. PURCHASE AND SALE AGREEMENT
18 UNDER SEAL
19 Hearing Date: OST Pending
Hearing Time: OST Pending
20 /
21 1, ANTHONY THOMAS, being first duly sworn, declare and say under penalty of

22 || perjury as follows:

23 1, I am over the age of 18 years of age, and I am mentally competent. I am the
24 | managing member of AT Emerald, LLC. Ihave authority to enter into agreements on behalf
25 || of AT Emerald, LLC.

26 2. Except as otherwise indicated, all facts set forth in this declaration are based
27 || upon my personal knowledge. If called upon to testify as to the contents of this declaration,

28 || I could and would do so.

Law Offices of
ALAN R. SMITH
505 Ridge Street
Reno, Nevada 89501
(778) 786-4579 H:\AT Emerald\Mot Sell\Decl Thomas Mot Sell (Replace) 062714 hee.wpd

 

 
Case 14-50333-gs Doc 104 Entered 06/30/14 17:10:20 Page 19 of 29

1 3. On June 19, 2014, I on behalf of AT Emerald, LLC entered into a Purchase
2 || and Sale Agreement with the purchaser wherein the purchaser agrees to purchase the 21,000
3 || carat emerald matrix (the “Emerald’”) for cash, payable at close of escrow. A true and
4 || correct copy of the redacted Purchase and Sale Agreement is attached hereto as Exhibit
5 || “A”,
6 4, As set forth in the Motion To Sell Assets Free And Clear Of Liens And
7 || Motion to File Purchase and Sale Agreement Under Seal, the sale of the Emerald is for cash,
8 || and the purchase price is sufficient to pay all creditors in this case, as well as all creditors
9 |] in the companion case of ANTHONY THOMAS and WENDI THOMAS, Case No. BK-N-
10 || 14-50333-BTB (the “Thomas Bankmptcy Case”) in full.
11 5. Pursuant to the Purchase and Sale Agreement, both parties have requested that
12 || the purchase price not be disclosed in any public document, but be filed with the Court
13 | under seal.
14 6. Disclosure of the actual purchase price for the Emerald poses a risk to my
15 || family and I, and is not necessary, as all creditors are able to be paid in full from the sale
16 || proceeds.

17 DATED this 23" day of June, 2014.

of a)

oY THOMAS

Law Offices of
ALAN R. SMITH
505 Ridge Street
Reno, Nevada 89501
(775) 786-4579 HAT Emerald\Mot Sell\Decl Thomas Mot Sell (Replace) 062714 hee.wpd

 

 
Case 14-50333-gs Doc 104 Entered 06/30/14 17:10:20 Page 20 of 29

Exhibit A

REDACTED COPY
OF
PURCHASE AND SALE AGREEMENT
Case 14-50333-gs Doc 104 Entered 06/30/14 17:10:20 Page 21 of 29

Syma Lee

' PURCHASE AND SALE AGREEMENT

This Purchase And Sale Agreement (hereinafter the“Agreement”) is made this 19* day of”
June, 2014, by and between AT EMERAED, LLC, a Nevada limited liability company
(heréinaffer “AT Emerald”), i
GED. hs A crecrnent is based upon the following recitals:

RECITALS
WHEREAS, AT Emerald is the owner of a certain emerald described herein below; and
WHEREAS, AT Emerald desires to sell and (MB desites to purcliase the emefald as

hereinafter deseribed; and

WHEREAS, AT Emerald is currently a debtor-in-possession-in the bankruptcy case
sutitied Inte AT Emerald, LLC, Case Number BK-N-14-50331-BTB (the “Bankruptcy Case”),

NOW, THEREFORE, the parties heréto agrés as follows:

1. esctiption of Assets to be

Subject to the conditions hereinafter set forth, AT Emerald agrees to self and SBD exces
to purchase a certabi 21,000 carat emerald matrix (the “Eiherald”) which is currently located at
Sarasota Vault, 640 South Washington Bivd., Suite 125, Sarasota, Florida, 34236 (hereinafter the.
“Storage Vault”). |

The purchase-price for the Emerald shall be the sui of QR
GERRI, payabiec in casti or cash equivalent in the manner set forth below. |
 

A) Within ten(10) days folfowing the execution of this Agreement, (aii shall inspedt
the, Emerald at the Storage Vault. AT Emerald shall eooperata in arranging such inspection at.a
mutually agreeable time. QED shall be catitled to bring such pemologist or other experts as
QB shall deem necessary to conchict its own inspection of the Emerald. MED acknowledges
that ithas not relied upon any representations of AT Emerald concerning the condition of thie
Emerald, and relies solely upon its own inspection of the Emerald. On ot before 5:00 pin. PST
onthe dleventh day following the execution of this Agreement, QB shall provide notice by email
whither it is satisfied with the condition of the Emerald. 1f is: satisfied with the contiition of
‘the Emerald, excrow shall close in the manner set forth herein below. Lf Qj indicates it is
dissatisfied with the condition of the Emerald, this Agreement shall be null and-void, and.all
obligations of she partes hereunder shall be deemed canceled.

B) Within ten (10) days following the execution of this Agreement, (ID shat
provide to AT Emerald evidence of its financial ability to cosummate this transactiot in a manner
satisfactory to AT Emerald. Inthe event AT Emerald is not satisfied in its sole discretion that

GRAD has the financial ability to consnmmate this transaction, AT Emerald shall provide email
notice to MIB that the transaction is canceled, and in such event this Agreement shall benull and
void and all obligations of the parties hereunder shall be cancelled.

C) This Agreement shall be subject to and conditional. upon entry of an order

_approving the sale (the “Approval Order”) by the Bankruptoy Court in the Bankruptey Case, AT
Emerald shall be responsible for bringing the motion before the Court, and shall seek a hearing on
shortened notice, with d earing date to be within seven (7)-days of the date-of filing the motion, or

as Close thereto as possible.

\ .

 
Escrow shall close for this transaction (“Close of Escrow”) within three (3) days following
the entry of the Approval Order{or 3 ddys following the inspection atid acceptance of the Emerald
by GD. ctose-of Escrow shall occur at the Law Offices of Alan R. Smith, Bsq.,-or such: other
Place as the patties shall mutually agree.

; Prior to Close-of Escraw, GRR shill cause tobe deposited the sum of Th.
SER: Pctse Funds”) WOME ita sopregated
trust account entitted “At Emerald Trust Account” located at Wells Fargo Bank in Reno, Revada
i QQPRREMMED ito bank account designated by AT Emerald LLC, Wiring or other transfer
instructions shal] be:-provided | within three (3) days following the execution of this.
Agreement.

 

Prior to Close of Escrow, AT Emierald shall deliver to the law offices of Alan R. Smith,
Esq., an exeonted Bill of Sale, transferring the Emerald from AT Emerald tol or such other
entity. 2s so designates m writing prior to Close. of Escrow, as well as: written instructions to
the Storage Vault (the “Storage Vault Instructions”) representing that the Emerald has been sold fo

i or ity nominee, and authorizing QB or its nominss, evmnplete access to the Bmorald.

 

The Law Offices of Alan'R. Smith (hereinafter “Escrow Agent’) is instructed as follows.
Qn the closing date; Escrow.Agent shall:

&) “Deliver the Bill-of Sale oi! or nominee, in a. manner'specified wO

B) Deliver the Storage Vault Instructions to fin 2 manner identified by

“je

 
C) - Maintain the SD on deposit at Wells

Fargo Bank pending further order of the Bankruptcy Court.

 

Pe e<knewied ges that it has relied upon its own inspection of the Emerald in connection
with this Agréement, aiid has not-relied upon any representation whatsoever by AT Emerald, or
any agent or affiliate of AT Emerald. WEBestnowiedzes that this sale: is. “sis 13,” atid that AT
Emerald has made no warranty or other represetitation whatsoever regarding the conilition or .

quality of the Emerald.

 

| A) AT Emerald represents that it is the true anid lawful owner of the Emerald, and that,
subject te the Approval Order, has the ability to transfer the Emerald free and clear ofall liens and
encumbrances.
B) That AT Emerald's managing member is Anthony G. Thomas (hereinafter
“Thornas”), who hat the authority to act of behalf of AT Emetald, and to execute all such

documénts ag shall be required in connection with this transaction.

 

A) WB cpresens that it is‘@ valid and currently chartered corporation, and that

Qe 2: authority to act on behalf of, including authority: fo execute all
documents as shall be required in connection with this transaction.

11. Purchase Price Confidential

The parties hereto agree that the amount of the purchase price shall remain confidential, |
and shall not be disclosed in any public filing. The parties agree that the purchase price may be
. disclosed to the Bankruptcy Judge only in a filing under seal.

-4-

re

 
12. Governing Law
This Agreement shall be construed and governed in accordance with the laws of the State

of Nevada, as well as the laws of the United Siates of America ag the same shall be applicable.

 

13,
The parties hereto specifically consent to the jurisdiction of the United States Bankruptcy. !
Court for the State of Nevada, Reno, Nevada, in connection with this Agreement, specifically
including the. enforesment of this Agreémént and any claims associated therewith. - |
14. :

 

If any litigation arises oitt af ot if connection with enforcement of this Agreemenit, the
prevailing party shall be entitled to recovery its litigation costs, including expert witness fees and
attorneys’ fees.

DATED;- this 19” day of June, 2014

AT EMERALD, LLG

bx Ay Vegan)

ANTHONY G. THOMAS —_
Aapaging Member.

DATED: this 19th-day of June, 2014

By:_

 
Case 14-50333-gs Doc 104 Entered 06/30/14 17:10:20 Page 26 of 29

Exhibit C
Oo Oo AN DA FP WY YP

DN BO NO NR NR OO Oe

Law Offices of
ALAN R. SMITH
505 Ridge Street
Reno, Nevada 89501
(775) 786-4579

 

Case 14-50333-gs Doc 104 Entered 06/30/14 17:10:20 Page 27 of 29

ALAN R. SMITH, ESQ. #1449
HOLLY E. ESTES, ESQ. #11797
Law Offices of Alan R. Smith

505 Ridge Street ELECTRONICALLY FILED
Reno, Nevada 89501 June 23, 2014

Telephone (775) 786-4579
Facsimile (775) 786-3066

Email: mail@asmithlaw.com
Attorney for Debtors

ANTHONY THOMAS and WENDI
THOMAS and AT EMERALD, LLC

UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA
—oo0000—

In Re: Case No. BK-N-14-50333-BTB

Case No. BK-N-14-50331-BTB
ANTHONY THOMAS and Chapter 11 Cases
WENDI THOMAS,

[Jointly Administered]
AT EMERALD, LLC, EX PARTE MOTION TO FILE

PURCHASE AND SALE AGREEMENT

Debtors. UNDER SEAL
/

Debtor, AT EMERALD, LLC, a Nevada limited liability company (hereinafter “AT
Emerald” or “Debtor’’), by and through its undersigned counsel, Holly E. Estes, Esq.; of the
Law Offices of Alan R. Smith, hereby files its Ex Parte Motion to File Purchase and Sale
Agreement Under Seal (“Motion”). This Motion is made and based upon Federal Rule of
Bankruptcy Procedure 9018, Local Rule 9018, the points and authorities set forth below, the
Declaration Of Anthony Thomas In Support Motion To Sell Assets Free And Clear Of Liens
And Motion to File Purchase and Sale Agreement Under Seal, the pleadings and papers on
file herein, and such other matters as may be presented at the hearing hereon.

POINTS AND AUTHORITIES
A. Background.
On June 23, 2014, the Debtor filed its Motion To Sell Assets Free And Clear Of Liens

H:\AT Emerald\Mot Sell\Mot File PSA Under Seal\Mot File PSA Under Seal (Replace) 062714 hee.wpd

 
Oo oOo IT HD An FF WD NO

oO NY NO NO e— Be RK KS PrP SF Ol Reel EES ll

Law Offices of
ALAN R. SMITH
505 Ridge Street
Reno, Nevada 89501
(775) 786-4579

 

Case 14-50333-gs Doc 104 Entered 06/30/14 17:10:20 Page 28 of 29

And Motion to File Purchase and Sale Agreement Under Seal (the “Sale Motion”). The Sale
Motion seeks authority for the Debtor to sell its only asset, a 21,000 carat emerald (the
“Emerald”). The Emerald is currently located at Sarasota Vault, 640 South Washington
Blvd., Ste. 125, Sarasota, Florida 34236.

1, Purchase price and terms.

Attached to the Sale Motion as Exhibit “A” is a fully executed copy of the Purchase
And Sale Agreement (hereinafter the “Agreement”). Under the Agreement, the purchaser
agrees to purchase the Emerald for cash, payable at close of escrow. Pursuant to the
Agreement, both parties have requested that the purchase price not be disclosed in any public
document, but be filed with the Court under seal.

As set forth in the Sale Motion, the purchase price is sufficient to pay all creditors in
this case, as well as all creditors in the companion case of ANTHONY THOMAS and
WENDI THOMAS, Case No. BK-N-14-50333-BTB (the “Thomas Bankruptcy Case”) in
full. The purchase price is to be paid in cash, within three days following entry of an order
approving the sale or three days following the inspection and acceptance of the Emerald by
the purchaser. The Agreement provides that the purchaser shall have eleven days following
execution of the Agreement to approve the condition of the Emerald, and that the Debtor
shall have ten days following execution of the Agreement to confirm that the purchaser has
sufficient cash to consummate the transaction. By the date of the hearing on this Motion,
both conditions will likely have been satisfied, as the Agreement was executed on June 19,
2014 and the condition required to be met not later that June 30.

Anthony and Wendi Thomas request that the purchase price remain undisclosed. As
set forth in 11 U.S.C. § 107(c), information need not be disclosed if it would create undue
risk of unlawful injury to the individual. As stated in Collier on Bankruptcy, { 107.04 (16"
ed.),

Section 107(c) gives the court broad discretion to protect an
individual with respect to any information, including identifying
information, in a paper filed or to be filed with the court to the

extent that the court finds that disclosure of the information
would create an undue risk of identify theft or unlawful injury

H:\AT Emeraid\Mot Sell\Mot File PSA Under Seal\Mot File PSA Under seaidRéplace) 062714 hee.wpd

 
Oo Oo ND A F&F WY Ne

NO NO KN BW KN Re se

Law Offices of
ALAN R. SMITH

505 Ridge Street
Xeno, Nevada 89501

(775) 786-4579

 

Case 14-50333-gs Doc 104 Entered 06/30/14 17:10:20 Page 29 of 29

to the individual or the individual’s property.

Unlike section 107(b), section 107(c) requires a showing of

cause. It does not require a request to the court; although most

orders under the section will be initiated in that manner, the

court can act sua sponte. There is also no requirement that a

request be made by a party in interest. However, the protection

of the subsection extends only to individuals, and only to

prevent injury to the person or property of individuals.
In this case, disclosure of the actual purchase price poses a risk to the individual Debtors
Anthony and Wendi Thomas and is not necessary. Debtor will file under seal an non-
redacted copy of the Purchase And Sale Agreement with the Court.

CONCLUSION
Accordingly, the actual purchase price has been redacted from the Agreement attached
to the Sale Motion as Exhibit “A”, and the Debtor requests that the purchase price remain
confidential. The sale is for a value far in excess of all secured and unsecured claims of both
this estate and the Thomas Bankruptcy Case. The sale is to be consummated in a short period
of time, and the proceeds of this sale are protected in an interest bearing trust account. It is
in the best interests of the individual Debtors, Anthony and Wendi Thomas, that the purchase
price remain confidential as disclosure of the actual purchase price poses a risk to the
individual Debtors and is not necessary.
DATED this 23" day of June, 2014.
LAW OFFICES OF ALAN R. SMITH
By: /s/ Holly FE. Estes

HOLLY E. ESTES, ESQ.
Attorney for Debtors

HAT Emerald\Mot Sell\Mot File PSA Under Seal\Mot File PSA Under Séal Replace) 062714 hee.wpd

 
